                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

      v.                                                 Case No. 98-CR-104

WILFREDO VASQUEZ,
              Defendant.


                                          ORDER

      Defendant Wilfredo Vaquez again asks me to set a payment schedule for his fine

and restitution. I sentenced defendant to life in prison, a $2500 fine and $4141.76

restitution following his conviction on racketeering and related charges. I did not set a

specific schedule but rather indicated that he was to participate in the Inmate Financial

Responsibility Program.

      As I explained in a previous order denying such a request, district courts in this

Circuit are not to dictate payment plans for fines or restitution during a defendant’s

confinement:

      [L]eaving payment during imprisonment to the Inmate Financial Responsibility
      Program is not an error at all, let alone a plain error. The statute requires the
      judge to set a schedule if the defendant cannot pay in full at once, see 18
      U.S.C. § 3664(f)(2), but it does not say when the schedule must begin. We
      hold today that it need not, and as a rule should not, begin until after the
      defendant’s release from prison. Payments until release should be handled
      through the Inmate Financial Responsibility Program rather than the court’s
      auspices.

United States v. Sawyer, 521 F.3d 792, 796 (7th Cir. 2008), cert. denied, 129 S. Ct. 897

(2009); see also United States v. Ellis, 522 F.3d 737, 739-40 (7th Cir. 2008) (addressing

fines). If defendant disagrees with the Bureau’s decisions under the IFRP, he may appeal


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internally, see 28 C.F.R. § 545.11(d), or seek judicial review of the Bureau’s final decision

under the Administrative Procedure Act, see 5 U.S.C. § 702. Sawyer, 521 F.3d at 794.

       THEREFORE, IT IS ORDERED that defendant’s motion (R. 2495) is DENIED.

       Dated at Milwaukee, Wisconsin this 16th day of March, 2009.


                                                   /s Lynn Adelman
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                                                   LYNN ADELMAN
                                                   District Judge




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